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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA et al.,          )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO et al.,                 )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                               ORDER

       Pursuant to the Status Conference held on August 11, 2023, the court hereby orders as

follows with respect to further proceedings:

   1. By August 18, 2023, Plaintiffs shall identify for Google and third parties those portions of

       their exhibits that they intend to rely upon at trial that may contain confidential business

       information or trade secrets. Google and the third parties shall respond with any proposed

       redactions to those portions by August 25, 2023.

   2. By August 25, 2023, Google shall identify for Plaintiffs and third parties those portions of

       their exhibits that it will seek to treat as confidential because they contain confidential
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      business information or trade secrets. Plaintiffs and third parties shall respond to Google’s

      proposed redactions by September 1, 2023.

   3. The court will be prepared to resolve any disputes concerning Plaintiffs’ exhibits at the

      pretrial conference on September 1, 2023. The court will set a later date to resolve any

      disputes involving Google’s exhibits.

   4. The parties shall submit proposed updated redactions to the court’s summary judgment

      memorandum opinion, ECF No. 624, by August 18, 2023.




Dated: August 14, 2023                                     Amit P. Mehta
                                                    United States District Court Judge




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